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  7

  8                             UNITED STATES BANKRUPTCY COURT

  9                             NORTHERN DISTRICT OF CALIFORNIA

 10                                       SAN JOSE DIVISION

 11   In re                                        Case No. 17-50307 MEH
                                                   R.S. No. TJD-001
 12   BEAMREACH SOLAR, INC.,
                                                   Chapter 7
 13                          Debtor.               Hon. M. Elaine Hammond

 14                                                MOTION FOR RELIEF FROM
                                                   AUTOMATIC STAY AND MEMORANDUM
 15                                                OF POINTS AND AUTHORITIES IN
                                                   SUPPORT
 16                                                Hearing:
                                                   Date: April 21, 2017
 17                                                Time: 10:00 a.m.
                                                   Place: Courtroom 3020
 18                                                       280 South First Street
                                                          San Jose, CA 95113-3099
 19

 20
              TO   THE    HONORABLE          M.    ELAINE     HAMMOND,         UNITED    STATES
 21   BANKRUPTCY COURT JUDGE, THE DEBTOR, DEBTOR’S COUNSEL, THE
 22   TRUSTEE, AND OTHER INTERESTED PARTIES:

 23

 24



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  1
             Wells Fargo Bank, N.A. (“Wells Fargo”) hereby moves (the “Motion”) this Court for an
  2   Order granting relief from the automatic stay under 11 U.S.C. § 362 in the above-captioned
  3   matter so that Wells Fargo may enforce its remedies against its collateral resulting from

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      AEROCRINE’S LIMITED OBJECTIONS TO THE TRUSTEE’S FIRST INTERIM FEE APPLICATION
  1   pre-petition and future draws on certain standby letters of credit issued by Wells Fargo on behalf

  2   of Beamreach Solar, Inc. (“Debtor”). Additionally, Wells Fargo seeks relief from stay to

  3   terminate such standby letters of credit prior to their automatic renewals. Given the

  4   circumstances of this case and the recent Report of No Distribution filed by the Chapter 7

  5   Trustee on March 22, 2017, no creditors will not be harmed by the relief requested herein.

  6          This Motion is based upon attached Memorandum of Points and Authorities, the

  7   Declaration of Victor Choi (the “Choi Declaration”), filed concurrently herewith. In further

  8   support of the Motion, Wells Fargo states as follows:

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                          MEMORANDUM OF POINTS AND AUTHORITIES
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 11                                                I. Facts
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             1.       Beamreach Solar, Inc. (“Debtor”) filed its voluntary petition for relief under
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      chapter 7 of the Bankruptcy Code on February 9, 2017 (the “Petition Date”), in the United States
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      Bankruptcy Court, Northern District of California, San Jose Division (the “Bankruptcy Court”).
 15
             2.       On or about July 22, 2009, Debtor entered into a Standy Letter of Credit
 16
      Agreement with Wells Fargo (as amended or modified from time to time, the “SBLC
 17
      Agreement”). A true and correct copy of the SBLC Agreement is attached to the Choi
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      Declaration as Exhibit A. Pursuant to the SBLC Agreement, on July 28, 2009, Wells Fargo
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      issued Irrevocable Standby Letter of Credit number NZS644544 (“SBLCNZS644544”), in the
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      amount of $300,000, on behalf of Debtor, with 1504-1530 McCarthy Blvd. – Milpitas LLC, as
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      beneficiary.
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             3.       As security for all of Debtor’s obligations to Wells Fargo, including but not
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      limited to Debtor’s obligation to reimburse Wells Fargo for any demands made on any letters of
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      MOTION FOR RELIEF FROM AUTOMATIC STAY
  1   credit issued pursuant to the SBLC Agreement, Debtor pledged its interest in all funds, including

  2   both principal and interest, in certificate of deposit #8046432202, dated July 22, 2009, held at

  3   Wells Fargo (“CD8046432202”), as evidenced by that certain Security Agreement – Specific

  4   Rights to Payment, dated July 22, 2009, executed by Debtor in favor of Wells Fargo (the “July

  5   2009 Security Agreement”). A true and correct copy of the July 2009 Security Agreement is

  6   attached to the Choi Declaration as Exhibit B.

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             4.      On or about February 10, 2014, SBLCNZS644544 was increased to $450,000. As
  8   further security for all of Debtor’s obligations to Wells Fargo, Debtor pledged its interest in all
  9   funds, including both principal and interest, in certificate of deposit #5830741053, dated

 10   February 5, 2014, held at Wells Fargo (“CD5830741053”), as evidenced by that certain Security

      Agreement – Specific Rights to Payment, dated February 5, 2014, executed by Debtor in favor of
 11
      Wells Fargo (the “February 2014 Security Agreement”). A true and correct copy of the February
 12
      2014 Security Agreement is attached to the Choi Declaration as Exhibit C.
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             5.      On or about July 10, 2014, SBLCNZS644544 was increased to $500,000. As
 14
      further security for all of Debtor’s obligations to Wells Fargo, Debtor pledged its interest in all
 15   funds, including both principal and interest, in certificate of deposit #7084855753, dated June 1,

 16   2014, held at Wells Fargo (“CD7084855753”), as evidenced by that certain Security Agreement

 17   – Specific Rights to Payment, dated June 1, 2014, executed by Debtor in favor of Wells Fargo

      (the “June 2014 Security Agreement”). A true and correct copy of the June 2014 Security
 18
      Agreement is attached to the Choi Declaration as Exhibit D.
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             6.      Pursuant to the SBLC Agreement, on October 10, 2014, Wells Fargo issued
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      Irrevocable Standby Letter of Credit number IS0251534U (“SBLCIS0251534U”), in the amount
 21   of $50,000, on behalf of Debtor, with 1504-1530 McCarthy Blvd. – Milpitas LLC, as
 22   beneficiary. A true and correct copy of SBLCIS0251534U is attached to the Choi Declaration as

 23   Exhibit E. As further security for all of Debtor’s obligations to Wells Fargo, Debtor pledged its

 24   interest in all funds, including both principal and interest, in certificate of deposit #8426798958,



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      MOTION FOR RELIEF FROM AUTOMATIC STAY
  1
      dated September 24, 2014, held at Wells Fargo (“CD8426798958”), as evidenced by that certain
  2   Security Agreement – Specific Rights to Payment, dated September 24, 2014, executed by
  3   Debtor in favor of Wells Fargo (the “September 2014 Security Agreement”). A true and correct

  4   copy of the September 2014 Security Agreement is attached to the Choi Declaration as Exhibit

      E.
  5
              7.     On or about September 27, 2016, SBLCNZS644544 and SBLCIS0251534U were
  6
      transferred to Oak Creek Properties, LLC (“Oak Creek”).
  7
              8.     The expiration date of SBLCNZS644544 is February 28, 2019. The current
  8
      expiration date of SBLCIS0251534U is February 28, 2018, which will automatically extend to a
  9   final expiration date of February 28, 2019, unless at least thirty (30) days prior to the current

 10   expiration date Wells Fargo sends written notice that it elects not to extend the expiration date of

 11   SBLCIS0251534U.

              9.     Pursuant to the SBLC Agreement, on September 14, 2016, Wells Fargo issued
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      Irrevocable Standby Letter of Credit number IS0452430U (“SBLC IS0452430U”, together with
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      SBLCNZS644544 and SBLCIS0251534U, the “SBLCs”), in the amount of $50,000, on behalf of
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      Debtor, with Navigators Insurance Company, as beneficiary. As further security for all of
 15   Debtor’s obligations to Wells Fargo, Debtor pledged its interest in all funds, including both
 16   principal and interest, in certificate of deposit #5548961258, dated September 14, 2016, held at

 17   Wells    Fargo    (“CD5548961258”,        together    with    CD8046432202,       CD5830741053,

 18   CD7084855753, and CD8426798958, the “Certificates of Deposit”), as evidenced by that certain

      Security Agreement – Specific Rights to Payment, dated September 14, 2016, executed by
 19
      Debtor in favor of Wells Fargo (the “September 2016 Security Agreement”, together with July
 20
      2009 Security Agreement, February 2014 Security Agreement, June 2014 Security Agreement,
 21
      and September 2014 Security Agreement, the “Security Agreements”). A true and correct copy of
 22   the September 2016 Security Agreement is attached to the Choi Declaration as Exhibit F.
 23           10.    The expiration date of SBLCIS0452430U is currently September 9, 2017, but will

 24   automatically extend for a successive one year period unless at least sixty (60) days prior to such



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      MOTION FOR RELIEF FROM AUTOMATIC STAY
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      expiration date Wells Fargo sends written notice to the beneficiary that it elects not to extend the
  2   expiration date of SBLCIS0452430U.
  3          11.     On or about February 7, 2017, a draw of $60,197.18 was made on

  4   SBLCNZS644544 by Oak Creek Properties, LLC, resulting in fees as provided under the SBLC

      Agreement of $330.00, for a total reimbursement obligation of the Debtor to Wells Fargo of
  5
      $60,527.18 (the “Prepetition Draw”). Debtor did not reimburse Wells Fargo as required prior to
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      the Petition Date and such amount remains outstanding.
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             12.     As of the Petition Date, the funds in the Certificates of Deposit were as follows:
  8
      CD8046432202 ($300,000.00), CD5830741053 ($150,000.00), CD7084855753 ($50,000.00),
  9   CD8426798958 ($50,000.00) and CD5548961258 ($52,522.43).

 10          13.     Wells Fargo respectfully requests that this Court lift the automatic stay to (i)

 11   allow Wells Fargo to submit its election not to extend SBLCIS0251534U and SBLCIS0452430U

      beyond their current expiration dates pursuant to their terms, (ii) allow Wells Fargo to reimburse
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      itself from the Certificates of Deposit for the Prepetition Draw pursuant to the terms of the SBLC
 13
      Agreement, and (iii) allow Wells Fargo to reimburse itself for any draws on any of the SBLCs
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      and any fees and costs incurred, including attorneys’ fees, from the Certificates of Deposit, as
 15   provided under the SBLC Agreement and Security Agreements, without seeking further relief
 16   from the Bankruptcy Court.

 17                                             II. Argument

 18          14.     A party may seek relief from the automatic stay “for cause.” 11 U.S.C.

      § 362(d)(1). The moving party must first establish a prima facie case that cause exists under
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      section 362(d)(1). The burden then shifts to the Debtor to show that relief from the stay is not
 20
      warranted. Duvar Apt., Inc. v. FDIC (In re Duvar Apt., Inc.), 205 B.R. 196, 200 (9th Cir. BAP
 21
      1996). Relief from the stay to allow a bank to reimburse itself from secured collateral is
 22   appropriate where, as here, a bank has distributed funds to a beneficiary pursuant to a letter of
 23   credit and the corresponding reimbursement obligation remains outstanding. In In re W.L. Mead,

 24   Inc., a bank issued the debtor a letter of credit pre-petition, which the debtor in turn assigned to



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  1
      an insurance company. In re W.L. Mead, Inc., 42 B.R. 57 (Bankr. N.D. Ohio 1984). Post-
  2   petition, the insurance company drew on the letter of credit. At issue was whether the bank could
  3   foreclose on the collateral securing the letter of credit. Id. at 59. Because the customary standards

  4   for stay relief did not apply, the court balanced the equities in determining that “[i]f the stay were

      to remain intact, the bank would be precluded from using a substantial sum of money that was
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      pledged against the possibility that [the beneficiary] could, at any time, draw from [the bank’s]
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      assets . . . the bank could continue to be deprived of the funds despite its having fulfilled its
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      obligations to both [the insurer] and the Debtor-In-Possession.” Id.at 60. Ultimately, the Court
  8
      concluded that “the continued deprivation of funds is sufficient hardship on the bank” to
  9   constitute “cause” to lift the automatic stay. Id. at 61.

 10           15.     Similar facts support the same result here. Without relief from the stay to submit

 11   its election not to extend SBLCIS0251534U and SBLCIS0452430U beyond their current

      expiration dates pursuant to their terms, Wells Fargo would be required to maintain such SBLCs
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      for a significantly longer period of time with additional costs and expense with apparently no
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      ability to obtain these costs from the Debtor. Moreover, without stay relief, the drawn-upon
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      letters of credit remain outstanding while Wells Fargo is unable to reimburse itself from its cash
 15   collateral. Finally, the Chapter 7 Trustee filed her Report of No Distribution on March 22, 2017.
 16   Accordingly,     creditors    will   not     be     harmed   by   the   relief   requested     herein.

 17
                                                 III.    Conclusion
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              16.     For the foregoing reasons, Wells Fargo respectfully requests an order lifting the
 19
      automatic stay to (i) allow Wells Fargo to submit its election not to extend SBLCIS0251534U
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      and SBLCIS0452430U beyond their current expiration dates pursuant to their terms, (ii) allow
 21
      Wells Fargo to reimburse itself from the Certificates of Deposit for the Prepetition Draw
 22
      pursuant to the terms of the SBLC Agreement, (iii) allow Wells Fargo to reimburse itself for any
 23   draws on any of the SBLCs and any fees and costs incurred, including attorneys’ fees, from the

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      MOTION FOR RELIEF FROM AUTOMATIC STAY
  1
      Certificates of Deposit, as provided under the SBLC Agreement and Security Agreements,
  2   without seeking further relief from the Bankruptcy Court, (iv) waiving the 14-day stay as
  3   contemplated by Federal Rule of Bankruptcy Procedure 4001(a)(3), and (v) granting such other

  4   relief as the Court deems just and proper.

      Dated: March 30, 2017
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                                                       MCGUIREWOODS LLP
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                                                       By: /s/ Todd J. Dressel__________________
  7                                                            Todd J. Dressel
                                                               Counsel to Wells Fargo Bank, N.A.
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